       Case 3:12-cv-00796-SDD-EWD             Document 23          02/06/13 Page 1 of 10




                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

JESSIE HOFFMAN                                         :   CIVIL ACTION

                                                       :   NUMBER: 12-cv-0796
VERSUS
                                                       :   JUDGE JAMES J. BRADY

BURL CAIN, ET AL                                       :
                                               MAGISTRATE JUDGE
                                              STEPHEN C. RIEDLINGER
************************************************************************
         SECOND MEMORANDUM IN OPPOSITION TO INTERVENOR’S
                  MOTION FOR PRELIMINARY INJUNCTION

MAY IT PLEASE THE COURT:

A.     BACKGROUND

       Intervenor, Christopher Sepulvado (hereinafter “Intervenor” or “Sepulvado”), has asked

this Court to stay his February 13, 2013 execution. For the reasons below he does not meet the

requirements for a preliminary injunction to stay his execution.

       As noted in an earlier brief filed by Defendants, Intervenor’s first-degree murder

conviction was affirmed by the Louisiana Supreme Court on April 8, 1996. State v. Sepulvado,

93-2682 (La. 4/8/96), 672 So.2d 158, rehearing denied, (La. 5/10/96). His petition for writ of

certiorari with the U.S. Supreme Court was denied on October 15, 1996.             Sepulvado v.

Louisiana, 519 U.S. 934, 117 S.Ct. 310 (1996). His petition for rehearing was likewise denied.

Sepulvado v. Louisiana, 519 U.S. 1035, 117 S.Ct. 600 (1996). His conviction and sentence to

death have been final for over sixteen years now.

       More than one month after the district judge signed his death warrant on December 12,

2012, Intervenor filed his Motion to Intervene in this case, on January 23, 2013. And eight days

later, on January 31, 2013, a mere fourteen days before his execution, Intervenor for the first




                                                1
       Case 3:12-cv-00796-SDD-EWD              Document 23       02/06/13 Page 2 of 10




time asked this court to stay his execution to review the legality of the State’s execution

protocols via a Motion for Preliminary Injunction.

       In his Motion for Preliminary Injunction, Intervenor argues that he cannot be executed

under the last known protocol as it requires a drug – sodium thiopental – which was taken off the

market, and requiring Intervenor to be executed with this drug would violate the Eighth

Amendment. Alternatively, Intervenor claims that the State has no protocol. Intervenor is

incorrect on both accounts.

B.     LAW AND ARGUMENT

       1. PRELIMINARY INJUNCTION STANDARD.

The purpose of a preliminary injunction is to preserve the status quo and prevent irreparable

harm until the respective rights of the parties can be ascertained during a trial on the merits.

Exhibitors Posters Exchange, Inc. v. National Screen Service Corp., 441 F.2d 560 (5th Cir.

1971). A preliminary injunction is an extraordinary and drastic remedy which should not be

granted unless the movant clearly carries the burden of persuasion. Canal Authority of State of

Florida v. Callaway, 489 F.2d 567, 573 (5th Cir. 1974); Anderson v. Jackson, 556 F.3d 351, 360

(5th Cir. 2009). The four elements that the movant must satisfy before injunctive relief can be

granted are (1) substantial likelihood that the movant will prevail on the merits; (2) substantial

threat that irreparable harm will result if the injunction is not granted; (3) the threatened injury

outweighs the threatened harm to the defendant; and (4) the granting of the preliminary

injunction will not disserve the public interest. Clark v. Prichard, 812 F.2d 991, 993 (5th Cir.

1987.) The party seeking such relief must satisfy a cumulative burden of proving each of the

four elements enumerated before a preliminary injunction can be granted. Id.

       a. Preliminary Objection.




                                                 2
       Case 3:12-cv-00796-SDD-EWD              Document 23     02/06/13 Page 3 of 10




       The State has already disclosed its drug protocol – 1 dose of pentobarbital. This also

negates his second argument that the State will execute via a protocol where one drug is

unobtainable. Now that his original complains have failed, Intervenor manufacturers a new and

wholly unsupported criticism – that the drug may have been obtained from illegal means, as the

manufacturer of pentobarbital does not want its drug to be used in executions. This argument

should be rejected as not included in his complaint or motion for preliminary injunction.

Furthermore, DPSC procured it through lawful means and did not go out of country to get it.

Finally, the fact that a manufacturer may have a problem with the State of Louisiana executing

an individual for committing an especially heinous crime against a seven-year old defenseless

child is completely irrelevant for the purpose of an Eighth Amendment challenge.

       b. Intervenor Can Show No Likelihood of Success on the Merits.

       The seminar case from the United States Supreme Court regarding cruel and unusual

death sentences is Baze v. Rees, 553 U.S. 35, 128 S. Ct. 1520, 170 L. Ed. 2d 420 (2008). It is

well-settled that capital punishment is constitutional. Baze, at 47. Because some risk of pain is

inherent in even the most humane execution method, if only from the prospect of error in

following the required procedure, the Constitution does not demand the avoidance of all risk of

pain. Baze, at 47. To constitute cruel and unusual punishment, an execution method must

present a “substantial” or “objectively intolerable” degree of serious harm. Baze, at 35-36.

Simply because an execution method may result in pain, either by accident or as an inescapable

consequence of death, does not establish the sort of “objectively intolerable risk of harm” that

qualifies as cruel and unusual. Baze, at 50.

       Furthermore, allowing a condemned prisoner to challenge a State’s execution method

merely by sowing a slightly or marginally safer alternative finds no support in the Supreme




                                                3
       Case 3:12-cv-00796-SDD-EWD              Document 23       02/06/13 Page 4 of 10




Court’s cases. Baze, at 51. The Supreme Court does not allow courts to turn into boards of

inquiry based on “best practices” for executions. Baze, at 15. Furthermore, the Supreme Court

has never invalidated a State’s chosen procedure for carrying out a death sentence as cruel and

unusual. Baze, at 48.

       I.      Inmates have argued that one-drug executions are safer method as opposed
               to the previously used three drug combination.

       It is undisputed that the three-drug protocol utilized previously by Louisiana is

substantially the same as that declared constitutional in Baze.       Nor has Intervenor alleged

otherwise. His argument to this court is simply that the three-drug protocol in absence of the

availability of the first would be unconstitutional. Defendants do not address this argument, as it

is moot. Louisiana’s current drug of choice is one-dose of pentobarbital.

       Ironically, and fatal to Intervenor’s argument, is that inmates on death row have routinely

argued that a one-drug combination is more humane than the three-drug combination rule

constitutional in Baze. In fact the inmates in Baze made this exact argument:

       “Much of petitioners' case rests on the contention that they have identified a significant
       risk of harm that can be eliminated by adopting alternative procedures, such as a one-
       drug protocol that dispenses with the use of pancuronium and potassium chloride”

Baze, at 51, and

       “First, petitioners contend that Kentucky could switch from a three-drug protocol to a
       one-drug protocol by using a single dose of sodium thiopental or other barbiturate [such
       as pentobarbital].”

Baze, at 56. Numerous death penalty inmates in Idaho, Florida, and Tennessee also argued for a

one-drug combination instead of a three-drug one. See, Roades v. Reinke, 671 F.3d 856 (9th Cir.

11/16/11); Roades v. Reinke, 830 F.Supp.2d 1046 (9th Cir. 11/14/11); Creech v. Reinke, 2012

WL 1995085 (D. Idaho 6/5/12); Pardo v. Palmer, 2012 WL 6106331 (12/10/12); and Harbison

v. Little, 571 F.3d 531 (6th Cir. 2009). See also, Cooey v. Strickland, 589 F.3d 210, 222 (6th Cir.



                                                4
       Case 3:12-cv-00796-SDD-EWD             Document 23       02/06/13 Page 5 of 10




12/7/09) (“By adopting a one-drug injection, Ohio purposely ceased using the pancuronium

bromide and potassium chloride that had been the focus of previous Eighth Amendment

challenges to lethal injection protocols.”)

       Now that Louisiana has chosen what death row advocates contend is a more humane

method than that previously ruled constitutionally-sound, Intervenor still complains.

       II.     The use of a one-drug protocol has been declared constitutional by other
               courts.

       Louisiana is far from the only state to use the one-drug pentobarbital. Six states have

used a single-drug method of execution – Arizona, Idaho, Ohio, South Dakota, Texas, and

Washington.    Four states including Louisiana have announced plans to carry out one-drug

pentobarbital executions in the future. See, website from www.deathpenaltyinfo.org.

       Coincidentally, the one-drug protocol in Ohio, California, and Arizona were all ruled

constitutional. Towery v. Brewer, 5672 F.3d 650 (9th Cir. 2/28/12) (Arizona); Morales v. Tilton,

465 F.Supp.2d 972 (12/15/06) (California); and Cooey v. Strickland, 589 F.3d 210 (6th Cir.

12/7/09) (Ohio).

       The Ninth Circuit in Towery found the use of one drug in an execution protocol to be

constitutional, even despite the fact that the protocol was changed to this method only 48 hours

prior to the scheduled execution. This Court in this matter extensively discussed the one drug

protocol, stating explicitly that the use of one drug rather than three fully complies with the

protocol approved in Baze. Therefore, the Plaintiff’s request for temporary injunction was

denied. The Sixth Circuit came to the same conclusion in Cooey. In this matter, medical experts

explained that the one-drug protocol is in fact a more humane execution procedure. Cooey, at




                                                5
        Case 3:12-cv-00796-SDD-EWD                  Document 23         02/06/13 Page 6 of 10




215.1 The Court recognized that this sentiment was the ongoing demand of litigants since 2004.

It went on to state that “a thorough review of the evidence presented regarding the one-drug

procedure “reveals that the similarities with Baze are considerable and the risk of severe pain no

greater-and likely less- than the risk of pain inherent in any lethal injection procedure found

constitutional by a federal court.”

        In fact, in news articles concerning the administration of pentobarbital alone in Texas

reported that the offender “showed no apparent unusual reaction to the drug as his execution

began.” See, attached news articles from BBC News and Death Penalty News.

        Thus, there is no evidence to suggest that Louisiana’s use of a one-drug procedure –

pentobarbital – is unconstitutional.

        III.     Courts have upheld on constitutionality grounds the substitution of
                 Pentobarbital for Sodium Thiopental.

        Courts across the country have refused to declare that a simple replacing one barbiturate

for another creates constitutional infirmities. See, West v. Brewer, 2011 WL 6724628 (D. Ariz.

12/21/11); Beaty v. Brewer, 791 F.Supp.2d 678 (D. Ariz. 5/25/11); Powell v. Thomas, 641 F.3d

1255 (11th Cir. 5/19/11); Pavatt v. Jones, 627 F.3d 1336 (10th Cir. 2010); DeYoung v. Owens,

646 F.3d 1319 (7/20/11); Powell v. Thomas, 643 F.3d 1300 (11th Cir. 6/15/11); and Jackson v.

Danberg, 656 F.3d 157 (3rd Cir. 9/7/11).

        In fact, the medical evidence supports the conclusion that the one-drug procedure is more

humane than the approved-three-drug combination. In Dickens v. Brewer, 2009 WL 1904294

(D. Ariz. 7/1/2009), the court discussed the effects of replacing the three-drug to a one-drug of

either pentobarbital or sodium thiopental:

1 The inmate’s own medical expect is quote by the court as stating “[I]t was gratifying to see that Ohio has
decided to renounce the use of pancuronium and potassium. That really is a big step forward, and its taken many
years, but I think they are really to be commended for doing that.



                                                      6
       Case 3:12-cv-00796-SDD-EWD              Document 23       02/06/13 Page 7 of 10




       “Replacing the three-drug protocol with a one-drug protocol using pentobarbital or
       sodium thiopental would eliminate the risk of severe pain from pancuronium bromide and
       potassium chloride. Five grams of sodium thiopental alone will cause death to almost
       everyone within a number of minutes, but it may take thirty to forty-five minutes for the
       death to be indicated by a flat line on an EKG. Pentobarbital acts as rapidly as sodium
       thiopental, and it is eliminated from the brain more slowly than sodium thiopental and
       causes death more predictably. When pentobarbital is given intravenously in a large dose
       (three to four times its anesthetic dose), loss of consciousness, cessation of breathing, and
       stoppage of the heart occur in less than two minutes.”

Dickens v. Brewer, 2009 WL 1904294 (D.Ariz. 7/1/09) affirmed, 631 F.3d 1139 (9th Cir. 2011)

       The Third Circuit in Jackson stated:

       “Pentobarbital is a barbiturate commonly used to euthanize terminally ill patients who
       seek death with dignity in states such as Oregon and Washington. It has been used
       successfully for executions in at least four other states, and there is no evidence that it
       fails to render an inmate unconscious. The District Court did not abuse its discretion in
       finding that the use of pentobarbital did not create “a demonstrated risk of severe pain, as
       required by the Supreme Court.”
Jackson, 656 F.3d at 165.

       Finally, inmates’ own expert in Cooey congratulated Ohio for moving forward to a one-

drug combination. Cooey, at 215.

       IV.    Claims of Illegally-Obtained Drugs or Non-Approval by FDA or
              Condemnation of Use of Drugs in Execution by Manufacturer Has Been Held
              Insufficient.

       Intervenor has already told this court that it believes pentobarbital is not appropriate

because its manufacturer does not approve it for use. This argument and other similar has been

rejected in “method of execution” actions like the current one. The Eleventh Circuit in Valle v.

Singer, 655 F.3d 1223 (11th Cir. 9/7/11) rejected the argument that a manufacturers

condemnation of the use of drug in execution has little if any evidentiary weight, as it has no

bearing of whether cause the individual being executed needless pain or suffering. Valle, 655

F.3d at 1233-1234. The Eleventh Circuit also noted a number of courts which have rejected

claims that drugs not approved by the FDA could not be used in a lethal injection. See, Valle,



                                                 7
         Case 3:12-cv-00796-SDD-EWD              Document 23        02/06/13 Page 8 of 10




655 F.3d at 1234. The District Court of Idaho in Creech, supra, likewise rejected the arugment

that illegally-obtained drugs may increase a risk of harm during an execution. Creech, 2012 WL

1995085, * 20-21.

         V.      Courts have likewise rejected claims that states have failed to disclosure their
                 protocols until the last hour.

         The Fifth Circuit in Walker v. Epps, 550 F.3d 407 (5th Cir. 11/24/08) explicitly rejected

the argument that Mississippi’s resistance to requests to produce the protocol, disclosure of only

portion, and only production of the entity at the summary judgment in this case was not enough

to prevent the plaintiff’s claim from being declared time-barred. Importantly, the Fifth Circuit

noted:

         We cannot accept that the State fraudulently concealed the plaintiffs' cause of action,
         given that the plaintiffs were aware that they were subject to execution by lethal
         injection from the moment their convictions became final. The plaintiffs could have
         filed their § 1983 action on the basis of this fact alone, within the limitations period.
         They did not need the detailed information they allege the State belatedly disclosed to
         file their action. The plaintiffs have failed to show the State affirmatively acted to conceal
         their cause of action and, accordingly, the statute was not tolled on the basis of fraudulent
         concealment.

Walker, 550 F.3d at 417. See also, Powell v. Thomas, 641 F.3d 1255 (11th Cir. 5/19/11) where

the court rejected a claim that the plaintiff has an Eighth Amendment right to know the details of

his execution.

         Thus, Intervenor’s claim that he does not all of the details is unavailing.

         c. Intervenor Can Not Show Irreparable Harm.

         The State does not dispute that if the preliminary injunction is not granted, Intervenor

will be executed as scheduled on February 13, 2013. However, that is not enough to declare

irreparable harm. The tight time-crunch with which the Court, the State and Intervenor finds

themselves currently is solely due to the delay of Intervenor. He can file an action like this any

time after his conviction is final, which was in 1996. The death warrant itself reveals an


                                                   8
         Case 3:12-cv-00796-SDD-EWD                      Document 23           02/06/13 Page 9 of 10




extensive history of litigation by Intervenor in both state and federal courts. The district court

issued the death warrant on December 12, 2012, and yet Intervenor still never filed this action.

He waited until January 23, 2013, more than one month after the death warrant was issued. Even

then, he did not seek a stay. He waited until 14 days before his execution to do so. A plaintiff

cannot be allowed to “create” his own irreparable injury.

         In fact his own Motion for Preliminary Injunction cuts against him. He asks this Court

for a stay because by the time the 21-day period to file an answer will have run, he will be

executed. The fact that he will be executed in the meantime is due to his own fault. He should

not have waited until the eleventh hour to request a stay. This is simply a last-ditch effort to

avoid execution.2 Any irreparable injury is due to his own delay from which he should not be

allowed to benefit.

         d. The Threatened Harm to Intervenor Does Not Outweigh the Harm to the State and the
            Public Interest Will be Dissuaded.

            The State has a great interest in ensuring that its criminal laws – designed to protect the

public – are swiftly enforced. A further delay in a six-year old case is contrary to the State’s

interest.    Further, the victims of Intervenor’s crimes do not deserve the agony of having

Intervenor’s death warrant recalled once again. The current motion is simply a last effort by

Intervenor.




2 It is import to note that Intervenor was previously set to die in 2008 but was granted a stay at that time. This is his
second request for a stay.


                                                            9
      Case 3:12-cv-00796-SDD-EWD            Document 23       02/06/13 Page 10 of 10




C.    CONCLUSION

      For this reason, Defendants request this Court deny Intervenor’s request for stay.

                                            Respectfully Submitted:

                                            James D. “Buddy” Caldwell

                                            _s/Jacqueline B. Wilson______________________
                                            SHOWS, CALI & WALSH, L.L.P.
                                            E. Wade Shows, LA Bar No. 7637
                                            Jacqueline B. Wilson, LA Bar No. 31055
                                            628 St. Louis Street (70802)
                                            Post Office Drawer 4425
                                            Baton Rouge, LA 70821-4425
                                            Phone: (225) 346-1461
                                            Special Assistant Attorneys General




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on 6th day of February, 2013, a copy of the foregoing has
this date been served upon all counsel of record via CM/ECF system and has been filed
electronically with the Clerk of Court using the CM/ECF system.

                                   /s/ Jacqueline B. Wilson
                                 JACQUELINE B. WILSON




                                              10
